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                                                                          CAROLINE E. OKS
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                                             October 3, 2024


VIA ECF
                                                                       ORDER
Hon. André M. Espinosa, U.S.M.J.
U.S. District Court District of New Jersey
50 Walnut Street
Newark, NJ 07101

               Re:    Palazzi, et al. v. Cigna Health & Life Insurance Co.
                      Case No. 22-cv-6278-JMV-AME

Your Honor:

        This firm represents Defendant Cigna Health and Life Insurance Co. (‘Cigna”) in the above-
referenced matter. On July 5, 2024, this matter was referred to mediation before Robert G. Marasco,
Esq. and ordered to complete mediation on or before October 3, 2024. See ECF No. 65. The parties
have conferred with Mr. Marasco, but due to scheduling conflicts with the parties, mediation is presently
scheduled to occur on October 30, 2024. Accordingly, the parties jointly request a 45 day extension of
time, to November 18, 2024, to complete the mediation and provide a status report to the Court.

       We thank you for Your Honor’s consideration of this request.

                                                            Respectfully submitted,

                                                            s/ Caroline E. Oks

                                                            Caroline E. Oks

cc:    All Counsel of Record (via ECF)
       Mediator Robert G. Marasco, Esq. (via e-mail)


                     The requested extension of time is GRANTED. Accordingly, mediation
                     shall be completed by November 18, 2024. The parties shall file a joint
                     status letter advising the Court of the outcome of such mediation on or
                     before November 25, 2024.

                     SO ORDERED. October 11, 2024

                      /s/ André M. Espinosa
                     ANDRÉ M. ESPINOSA
                     United States Magistrate Judge
